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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________

MARNIE O'BRIEN,                                        :
                       Plaintiff,                      :
                                                       :
                       v.                              :        Civil No. 2:19-cv-06078-JMG
                                                       :
THE MIDDLE EAST FORUM, et al.,                         :
                  Defendants.                          :
__________________________________________

                                                ORDER

       AND NOW, this 28th day of July, 2021, upon consideration of Plaintiff’s Motions in

Limine (ECF No. 101), Defendants’ Motions in Limine (ECF No. 105), and any responses thereto,

and upon consideration of the supplemental motions in limine offered by the Parties in their pretrial

memoranda (ECF Nos. 98, 99) and during the pretrial conference on July 27, 2021, IT IS

HEREBY ORDERED that:

       1.      Plaintiff’s Motion in Limine to Exclude Evidence Regarding Recorded Phone Calls

               Between Matthew Ebert and Defendant Gregg Roman (Def. Ex. 119) is

               GRANTED in part and DENIED in part.                  The portions of this recording

               pertaining to the alleged drug use of Plaintiff, or that of any other witnesses in this

               case, is admissible to the extent detailed in Paragraph 3, infra, of this Order. Any

               statements concerning the sexual histories of Plaintiff, or that of any other witnesses

               in this case, are not relevant since they do not make a fact of consequence more or

               less probable. See Fed. R. Evid. 401. Moreover, the Court finds that any probative

               value of the portions of this conversation pertaining to the drug use or sexual

               histories of Plaintiff, or any other witnesses in this case, is substantially outweighed

               by the risk of unfair prejudice, confusion of the issues, and misleading the jury. See
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                  Fed. R. Evid. 403. Conversely, statements offered for the purpose of demonstrating

                  Plaintiff’s improper motive in filing the present suit are relevant and admissible

                  because they tend to undermine Plaintiff’s purported reasons for suing the

                  Defendants pursuant to Title VII and the PHRA. See id.

         2.       Plaintiff’s Motion in Limine to Exclude Evidence Regarding Phone Calls Between

                  Plaintiff Marnie O’Brien and Lisa Barbounis (Def. Ex. 118) is GRANTED in part

                  and DENIED in part. This conversation is relevant to the extent that it is offered

                  to rebut Plaintiff’s claim that Defendant Roman was not subjected to reduced job

                  responsibilities after Plaintiff reported him to Defendant Pipes. See Fed. R. Evid.

                  401. It is also relevant to the extent it is offered to support Defendants’ contention

                  that Plaintiff and Ms. Barbounis had an antagonistic relationship independent of

                  any purported attempts by Defendant Roman to sow discord between them. 1 See

                  id. As used in any other context, the Court finds that the risk of unfair prejudice

                  and confusion of the issues substantially outweighs any probative of this

                  conversation. See Fed. R. Evid. 403.

         3.       Plaintiff’s Motion in Limine to Exclude Evidence Regarding the Alleged Drug Use

                  of Plaintiff Marnie O’Brien or Any Other Witnesses is GRANTED in part and

                  DENIED in part. Evidence of Plaintiff’s alleged use of marijuana is admissible

                  to the extent that it is offered as a basis for Defendants’ expert opinion rebutting

                  Plaintiff’s claims for emotional damages. See Fed. R. Evid. 703. Plaintiff’s

                  purported use of marijuana with Defendant Roman is also relevant, as it tends to



1
 During the pretrial conference, the Court advised counsel that any portions of this conversation that are not offered
for these purposes are not relevant and excluded from trial. Counsel has advised the Court that they will meet and
confer in an attempt to condense this recording to include only the portions deemed relevant by the Court.
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     undermine Plaintiff’s allegations concerning an antagonistic relationship between

     them. See Fed. R. Evid. 401. As it may be used in any other context, evidence of

     Plaintiff’s alleged drug use, or that of any other witnesses in this case, is not relevant

     because it does make any other facts of consequence more or less probable. See id.

     Furthermore, the Court finds that any probative value would be substantially

     outweighed by the risk of unfair prejudice, confusion of the issues, and misleading

     the jury. See Fed. R. Evid. 403.

4.   Plaintiff’s Motion in Limine to Exclude any Reference to the Prior Criminal

     Conviction of Matthew Ebert is GRANTED. Matthew Ebert was convicted of

     Illegal Bookmaking in 2003, and his conviction was later expunged from his record.

     Given that more than ten years have passed since his conviction, evidence thereof

     is “admissible only if (1) its probative value, supported by specific facts and

     circumstances, substantially outweighs its prejudicial effect and (2) the proponent

     gives an adverse party reasonable written notice of the intent to use it so that the

     party has a fair opportunity to contest its use.” Fed. R. Evid. 609(b). In determining

     whether the probative value of admitting evidence of the conviction substantially

     outweighs its prejudicial effect, the court should consider (1) the nature of the

     crime; (2) the date of the conviction; (3) the importance of the witness’s testimony;

     and (4) the importance of the witness’s credibility. U.S. v. Greenidge, 495 F.3d 85,

     97 (3d Cir. 2007). Defendants have represented to the Court that they have no

     intention of introducing evidence of Mr. Ebert’s conviction. See Defs.’ Resp. to Pl.

     Mot. in Limine, Tab D (ECF No. 120). Irrespective of Defendants’ intent, the




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                  remoteness of Mr. Ebert’s conviction, coupled with the fact that it was later

                  expunged from his record, counsels in favor of excluding this evidence from trial.

         5.       Plaintiff’s Motion to Preclude Defendants From Asserting a Farragher-Ellerth

                  Defense is DENIED. According to Plaintiff, Defendant Roman is a proxy for MEF

                  by virtue of his status as a corporate officer. See ECF No. 99. As such, Plaintiff

                  contends that Defendants are barred from asserting the Farragher-Ellerth

                  affirmative defense to respondeat superior liability. 2 Id. While some circuits have

                  found that the proxy theory of respondeat superior liability precludes a party from

                  offering a Farragher-Ellerth defense, Plaintiffs have not identified conclusive

                  authority demonstrating that this interpretation has been adopted by the Third

                  Circuit Court of Appeals. 3

         6.       Plaintiff’s Motion to Exclude Text Messages Between Caitriona Brady and

                  Delaney Yonacheck (Defs.’ Ex. 115) is DENIED. This conversation is relevant

                  because it supports Defendants’ contention that Plaintiff, and other litigant

                  witnesses, conspired to file their respective lawsuits against Defendant Roman for

                  illicit purposes. See Fed. R. Evid. 401. Likewise, it is not inadmissible hearsay

                  because it is not offered for the truth of the matter asserted, but as evidence of

                  motive. See Fed. R. Evid. 803(3). The Court also finds that any prejudice

                  concerning this text message exchange is minimal, and does not substantially

                  outweigh its probative value. See Fed. R. Evid. 403. For these same reasons,



2
  Plaintiff bases her contention on a footnote from Durham Life Ins. Co. v. Evans, wherein the Third Circuit
acknowledged that there are multiple bases for respondeat superior liability, which includes the proxy theory, but
noted that these bases were not relevant to the decision in that case. See 166 F.3d 139, 152 n.8 (3d Cir. 1999).
3
  In Suders v. Easton, the Third Circuit explicitly declined to further explore the proxy theory of liability. See 325
F.3d 432, 448 n.10 (3d Cir. 2003). Plaintiff has not identified, and the Court is not aware of, any authority wherein
the Third Circuit has revisited this issue and adopted the interpretation urged by Plaintiff.
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                 Plaintiff’s Motion to Exclude the Second Text Exchange Between Caitriona Brady

                 and Delaney Yonacheck (Defs.’ Ex. 116) is DENIED. 4

        7.       Defendants’ Motion in Limine to Exclude Evidence Relating to Defendant

                 Roman’s Purported Sexual Encounter with a Former MEF Intern is DENIED.

                 Plaintiff’s testimony that Defendant Roman bragged to her about having sexual

                 relations with a former MEF intern during a work trip is relevant because it is

                 probative evidence that supports her hostile work environment claim. See Fed. R.

                 Evid. 401. While this testimony is undoubtedly prejudicial to Defendants’ theory

                 of the case, they have failed to demonstrate how it constitutes unfair prejudice

                 which substantially outweighs its probative value. Fed. R. Evid. 403. Indeed, the

                 Court cannot discern how this evidence would “cloud impartial scrutiny and

                 reasoned evaluation of the facts” such that it would “inhibit neutral application of

                 [the] principles of law to the facts as found.” Goodman v. Pennsylvania Turnpike

                 Com’n, 293 F.3d 655, 670 (3d Cir. 2002). To the extent that Plaintiff alleges that

                 Defendant Roman recounted his purported sexual encounter to Plaintiff, this

                 evidence is admissible. 5

        8.       Defendants’ Motion in Limine to Exclude the Trial Testimony of Plaintiff’s Expert

                 Witness Dr. Kendra Kubala, Psy.D. is DENIED. Expert testimony is admissible if

                 (1) the expert’s scientific, technical, or specialized knowledge will assist the trier

                 of fact in understanding the evidence or determining relevant facts; (2) the




4
  Defense counsel has represented to the Court, and opposing counsel, that comments only attributable to one
speaker will only be used for the purpose of establishing the motive or bias of that speaker.
5
  The Court’s ruling is limited exclusively to testimony regarding Mr. Roman’s alleged statements to Plaintiff
regarding his purported sexual encounter with a former MEF intern. Evidence concerning the actual existence of
this relationship is not covered by this Order.
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     testimony is based on sufficient facts or data; (3) their conclusions are based on

     reliable principles and methods; and (4) the expert has reliably applied these

     principles and methods to the facts of the case. Fed. R. Evid. 702. In determining

     whether expert testimony is reliable, the court should consider “(1) whether their

     method consists of a testable hypothesis; (2) whether their method has been subject

     to peer review; (3) the known or potential rate of error; (4) the existence and

     maintenance of standards controlling the technique’s operation; (5) whether the

     method is generally accepted; (6) the relationship of the technique to methods

     which have been established to be reliable; (7) the qualifications of the expert

     witness testifying based on methodology; and (8) the non-judicial uses to which the

     method has been put.” UGI Sunbury LLC v. A Permanent Easement for 1.7575

     Acres, 949 F.3d 825, 834 (3d Cir. 2020) (citations omitted). This reliability inquiry

     requires a flexible approach. See Daubert v. Merrell Dow Pharmaceuticals, Inc.,

     509 U.S. 579, 594 (1993). Defendants seek to exclude Dr. Kubala’s testimony as

     unreliable, arguing that she used subjective methodology and testing techniques to

     reach her conclusions. In diagnosing Plaintiff, Dr. Kubala utilized the Beck

     Anxiety Inventory (BAI), the Beck Depression Inventory-2 (BDI-2), and

     Diagnostic and Statistical Manual of Mental Disorders, 5th Edition (DSM-5). Each

     of these techniques are recognized and accepted forms of expert diagnosis within

     the Third Circuit. See, e.g., Morris v. Barhnhart, 78 F. App’x 820, 824 (3d Cir.

     2003). Defendants also argue that her expert report failed to address plausible

     alternative explanations for Plaintiff’s Generalized Anxiety Disorder (GAD). See

     Defs.’ Mot. in Limine 3-7 (citing Heller v. Shaw Indus., Inc., 167 F.3d 146, 156 (3d


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                 Cir. 1999)). However, an expert’s methodology is only rendered unreliable in this

                 context “where a defendant points to a plausible alternative cause and the [expert]

                 offers no explanation for why he or she has concluded that was not the sole cause.”

                 Heller, 167 F.3d at 156. Defendants have neither deposed nor cross-examined Dr.

                 Kubala, and have instead merely pointed to their own expert report offered in

                 rebuttal of Dr. Kubala’s findings. Pl. Mot. in Limine 12; Defs.’ Mot. in Limine 4-

                 7. Dr. Kubala has not had the opportunity to respond to Defendants’ proposed

                 alternative causes. Defendants’ argument thus attacks the weight, not admissibility,

                 of Dr. Kubala’s testimony and is insufficient to warrant its exclusion. 6

        9.       Defendants’ Motion in Limine to Bifurcate Trial and Exclude Plaintiff’s Evidence

                 of Front and Back Pay is DENIED. A district court may bifurcate a trial “for

                 convenience, to avoid prejudice, or to expedite and economize.” Fed. R. Civ. P.

                 42(b). The Court finds that Defendants have not offered sufficient support for their

                 contention that bifurcating the issue of front and back pay would be in the interests

                 of judicial economy or avoid jury confusion. Front and back pay damages are not

                 a particularly complex concept and are certainly not attenuated from the facts of

                 this case. Jurors are also capable of considering this issue separate and apart from

                 arguments concerning the merits of this case. 7 Likewise, the attendant delay in

                 holding two separate trials outweighs any purported benefit of streamlining or

                 reducing the complexity of an already comparatively short and straightforward

                 trial. See Innovative Office Products, Inc. v. Spaceco, Inc., 2006 WL 1340865, at



6
  The Court must “take care not to mistake credibility questions for admissibility questions.” Henderson v.
Matthews, No. 19-3040, 2021 WL 2012544, at *4 (E.D. Pa. May 20, 2021) (quoting Heller, 167 F.3d at 157).
7
  Counsel has agreed to meet and confer regarding a limiting jury instruction to achieve this end.
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                 *3 (E.D. Pa. May 15, 2006). Defendants’ arguments that Plaintiff should be

                 precluded from offering evidence of front or back pay are equally unavailing.

                 Plaintiff intends to introduce evidence of her MEF salary, bank records, and

                 statements of income earned since leaving the organization. Pl. Resp. to Defs.’ Mot

                 in Limine 22 (ECF No. 118). This evidence is admissible to support her claim for

                 front pay because it is based on her “particularized knowledge by virtue of her

                 experience” and “easily verifiable facts within her personal knowledge.” See

                 Donlin v. Philips Lighting North America Corp., 581 F.3d 73, 81-83 (3d Cir. 2009).

                 While supporting expert testimony would undoubtedly strengthen Plaintiff’s case,

                 Defendants have offered no authority requiring the preclusion of her lay witness

                 testimony in its absence. Plaintiff also intends to introduce evidence of bank

                 records and income statements in support of her claim for back pay. Pl. Resp. to

                 Defs.’ Mot. in Limine 23. Despite Defendants’ argument to the contrary, the fact

                 that Plaintiff did not disclose a copy of her 2020 tax return prior to the January 14,

                 2021 discovery deadline is of no consequence given that Plaintiff had not yet

                 completed said return and thus could not produce it by the close of discovery. 8 See

                 id. Furthermore, the Court’s records are devoid of any attempt by Defendants to

                 compel the production of this tax return.

        10.      Defendants’ Motion in Limine to Exclude Evidence Relating to Alleged Prior Bad

                 Acts Concerning Other Litigants and Non-Parties is GRANTED in part and

                 DENIED in part. The testimony of Lisa Barbounis, Patricia McNulty, and


8
 The deadline to submit 2020 tax returns was May 17, 2021. See Tax Day for Individuals Extended to May 17:
Treasury, IRS Extends Filing and Payment Deadline, Internal Revenue Service, https://www.irs.gov/newsroom/tax-
day-for-individuals-extended-to-may-17-treasury-irs-extend-filing-and-payment-deadline (last updated Apr. 28,
2021).
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                  Caitriona Brady concerning purported instances of harassment by Defendant

                  Roman is relevant to the extent that it is offered to recount eyewitness observations

                  of incidents involving harassment of Plaintiff herself. See Fed. R. Evid. 401.

                  Testimony concerning Defendant Roman’s alleged harassment of Ms. Barbounis,

                  Ms. McNulty, and Ms. Brady is relevant to the extent that these witnesses reported

                  these incidents to Plaintiff because evidence of other acts of harassment, and

                  Plaintiff’s knowledge thereof, is probative evidence supporting her hostile work

                  environment claim. 9 See Hurley v. Atlantic City Police Dept., 174 F.3d 95, 111 (3d

                  Cir. 1999). However, testimony by Lisa Barbounis alleging that, out of fear of

                  Defendant Roman, she slept with a knife during her trip to Israel in 2018,

                  constitutes unfair prejudice which substantially outweighs any probative value and

                  is therefore inadmissible. 10 See Fed. R. Evid. 403.

         11.      Defendants’ Conditional Motion in Limine to Exclude All Evidence Relating to

                  Plaintiff’s Delay in Reporting Harassment and Defendants’ Faragher-Ellerth

                  Defense is DENIED. Evidence concerning the basis for Plaintiff’s fear of reprisal

                  for reporting Defendant Roman’s conduct is relevant because it supports Plaintiff’s

                  claims for hostile work environment, constructive discharge, and punitive damages.

                  See Fed. R. Evid. 401. Defendants cannot unilaterally narrow the probative value

                  of this evidence by stating their intent to refrain from asserting a Faragher-Ellerth

                  defense to respondeat superior liability. This would hamstring Plaintiff’s ability to

                  account for the gap between the dates of the alleged harassment and the date


9
  Counsel will meet and confer regarding a potential limiting instruction explaining to the jury that this testimony is
not offered for the truth of the allegations that Mr. Roman harassed these witnesses, but how their reporting of this
alleged harassment contributed to Plaintiff’s hostile work environment.
10
   This determination of unfair prejudice is based, in part, on the fact that Ms. Barbounis is not a party in this matter.
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      Plaintiff reported Defendant Roman’s conduct, leaving the jury to speculate as to

      why Plaintiff did not do so sooner. Likewise, Defendants’ decision not to pursue a

      Farragher-Ellerth defense does not automatically give rise to unfair prejudice and

      jury confusion which substantially outweighs its probative value. Fed. R. Evid.

      403.

12.   Defendants’ Motion in Limine to Exclude Undisclosed Witnesses is DENIED.

      Pursuant to Local Rule 16.1(c)(4), pretrial memoranda must be “filed and served at

      such time as the court shall direct” and must include “[a] list showing the names

      and addresses of all witnesses the party submitting the memorandum intends to call

      at trial.” Plaintiff’s initial Pretrial Memorandum, submitted on July 9, 2021 (ECF

      No. 99), failed to include a witness list. Defendants seek to exclude the testimony

      of any witnesses not disclosed by Plaintiff during a pretrial phone call between the

      Parties on June 29, 2021, arguing that such late disclosure would preclude

      Defendants from addressing any potential evidentiary issues associated with those

      witnesses. A district court may “depart from the strictures of its own local

      procedural rules where (1) it has a sound rationale for doing so, and (2) so doing

      does not unfairly prejudice a party who has relied on the local rule to his detriment.”

      U.S. v. Eleven Vehicles, Their Equipment and Accessories, 200 F.3d 203, 215 (3d

      Cir. 2000). Plaintiff submitted an Amended Pretrial Memorandum on July 19, 2021

      (ECF No. 111) which designated as potential witnesses all individuals disclosed

      during the Parties’ June 29, 2021 phone call, in addition to Plaintiff’s expert

      witness, Dr. Kendra Kubala. As a result, Plaintiff cured her deficiency within ten

      days. Regardless, Defendants had notice of each of these potential witnesses prior


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      to the pretrial memorandum deadline. The expert discovery deadline in this matter

      was August 25, 2020 and Plaintiff disclosed her other potential witnesses to

      Defendants on June 29, 2021. Accordingly, the Court finds that Defendants will

      not be unfairly prejudiced by Plaintiff’s initial failure to include the names of these

      potential witnesses in her Pretrial Memorandum.

13.   Defendants’ Motion to Exclude Daniel Pipes’ Email to Gregg Roman Dated

      November 6, 2018 (Pl. Ex. 8) is DENIED. Despite Defendants’ contention that

      this email was not the final version of Defendant Pipes’ memorandum to Defendant

      Roman, thereby requiring exclusion under Fed. R. Evid. 1002, no such final

      memorandum has been offered. Additionally, Defendant Pipes has authenticated

      this email during his deposition testimony. The Court therefore discerns no basis

      for precluding this evidence.

14.   Defendants’ Motion to Exclude Tricia McNulty’s Email to Daniel Pipes on April

      22, 2019 (Pl. Ex. 9) is GRANTED. This email contains allegations of harassment

      by Tricia McNulty which she learned from Matthew Bennett and Caitriona Brady,

      and subsequently conveyed to Defendant Pipes.           These statements constitute

      hearsay within hearsay, which can only be cured if each declaration conforms to an

      exception to the hearsay rule. Fed. R. Evid. 805. The statements by Ms. McNulty

      to Defendant Pipes are nonhearsay since they are not offered for the truth of the

      matter asserted, but instead are offered for their effect on the listener. See Fed. R.

      Evid. 801; see also Larochelle v. Wilmac Corporation, 769 F. App’x 57, 65 (3d

      Cir. 2019). However, Plaintiff has not identified an applicable exception to the rule




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      against hearsay as it applies to the statements by Mr. Bennett and Ms. Brady to Ms.

      McNulty, rendering these statements inadmissible.

15.   Defendants’ Motion to Exclude Lisa Barbounis’s Email to Daniel Pipes on

      November 4, 2018 (Pl. Ex. 18) is DENIED. These statements are nonhearsay since

      they are not offered for the truth of the matter asserted, but to demonstrate the effect

      on the listener. See Fed. R. Evid. 801; see also Larochelle v. Wilmac Corporation,

      769 F. App’x 57, 65 (3d Cir. 2019). Furthermore, they are relevant in that they

      support Plaintiff’s claims concerning gender discrimination and Defendant

      Roman’s purported attempts to foster an environment of fear and paranoia within

      the office. See Fed. R. Evid. 401.

16.   Defendants’ Motion to Exclude Tweets by Defendant Pipes (Pl. Exs. 44 and 45) is

      GRANTED. The Court finds that these tweets are not relevant because they do

      not make a fact of circumstance in this case more or less probable. See Fed. R.

      Evid. 401. Regardless, the risk of unfair prejudice from admitting this evidence

      substantially outweighs any probative value. See Fed. R. Evid. 403. The Court

      also finds that these tweets are inadmissible character evidence given that they are

      offered to prove that Defendant Pipes acted in accordance with a purported

      character trait in response to the specific allegations in this case. See Fed. R. Evid.

      404(a).

                                      BY THE COURT:



                                      /s/ John M. Gallagher
                                      JOHN M. GALLAGHER
                                      United States District Court Judge



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